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                                   UNITED STATES DISTRICT COURT
                                                           for the
                                               NorthernDistrict
                                            __________ Districtofof__________
                                                                    Texas

        ADONAI COMMUNICATIONS, LTD.                           )
                       Plaintiff                              )
                          v.                                  )         Civil Action No. 3:10-CV-2642-L
        AWSTIN INVESTMENT, LLC, ET AL.                        )
                       Defendant                              )


        CLERK’S CERTIFICATION OF A JUDGMENT TO BE REGISTERED IN ANOTHER DISTRICT


         I certify that the attached judgment is a copy of a judgment entered by this court on (date)         04/30/2012       .

        I also certify that, as appears from this court's records, no motion listed in Fed. R. App. P. 4(a)(4)(A) is pending
before this court, the time for appeal has expired, and no appeal has been filed or, if one was filed, it is no longer
pending.


Date:      4/11/2018
                                                                        CLERK OF COURT


                                                                            s/E. Monk
                                                                                    Signature of Clerk or Deputy Clerk
